     Case 2:18-cr-00876-JAK Document 140 Filed 08/31/23 Page 1 of 2 Page ID #:649




 1     CUAUHTEMOC ORTEGA (Bar No. 257443)
       Federal Public Defender
 2     KATE L. MORRIS (Bar No. 332159)
       (E-Mail: Kate_Morris@fd.org)
 3     Deputy Federal Public Defender
       321 East 2nd Street
 4     Los Angeles, California 90012-4202
       Telephone: (213) 894-2854
 5     Facsimile: (213) 894-0081
 6     Attorneys for Defendant
       ANDERSON SAM BONILLA ECHEGOYEN
 7
 8                              UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10                                    WESTERN DIVISION
11
12     UNITED STATES OF AMERICA,                     Case No. 18-CR-00876-JAK
13                 Plaintiff,
                                                     STIPULATION TO CONTINUE
14           v.                                      PRELIMINARY REVOCATION
                                                     HEARING
15     ANDERSON SAM BONILLA
       ECHEGOYEN,                                    Current Date: September 7, 2023
16
                   Defendant.                        Proposed Date: September 28, 2023
17
18           IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff, United
19     States of America, by and through Assistant United States Attorney J. Jamari Buxton,
20     and defendant Anderson Sam Bonilla Echegoyen, by and through his attorney of
21     record, Deputy Federal Public Defender Kate L. Morris, that:
22           1.    On July 26, 2023, Mr. Bonilla made his initial appearance on a bench
23     warrant issued for failure to appear at his preliminary revocation hearing on May 11,
24     2023. Mr. Bonilla was ordered detained and is currently in MDC. The Court set Mr.
25     Bonilla’s preliminary revocation hearing for September 7, 2023.
26           2.    The parties have a scheduling conflict on September 7, 2023.
27     Accordingly, the parties respectfully request a continuance of the preliminary
28
     Case 2:18-cr-00876-JAK Document 140 Filed 08/31/23 Page 2 of 2 Page ID #:650




 1     revocation hearing from September 7, 2023 to September 28, 2023. The parties and the
 2     Probation Officer are all available on that date.
 3
 4                                             Respectfully submitted,
 5                                             CUAUHTEMOC ORTEGA
                                               Federal Public Defender
 6
 7
       DATED: August 31, 2023              By /s/ Kate L. Morris
 8                                           Kate L. Morris
 9                                           Deputy Federal Public Defender
                                             Attorney for Anderson Sam Bonilla Echegoyen
10
11                                             E. MARTIN ESTRADA
                                               United States Attorney
12
13     DATED: August 31, 2023              By /s/ J. Jamari Buxton (by email authorization)
14                                           J. JAMARI BUXTON
                                             Assistant United States Attorney
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                     2
